Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 1 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 2 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 3 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 4 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 5 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 6 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 7 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 8 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 9 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 10 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 11 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 12 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 13 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 14 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 15 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 16 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 17 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 18 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 19 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 20 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 21 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 22 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 23 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 24 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 25 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 26 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 27 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 28 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 29 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 30 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 31 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 32 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 33 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 34 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 35 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 36 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 37 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 38 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 39 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 40 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 41 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 42 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 43 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 44 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 45 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 46 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 47 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 48 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 49 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 50 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 51 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 52 of 53
Case 09-13560-CSS   Doc 1471   Filed 07/28/11   Page 53 of 53
